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 8   Attorneys for Plaintiffs
 9   [Additional counsel listed on signature page]
10                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
11

12
     AMY COHEN, KATHARINE VACCARELLA,                    Case No. 4:21-cv-06527-HSG
13   and SIRISHA KONERU on behalf of themselves
     and all others similarly situated,                  NOTICE OF SUPPLEMENTAL
14                                                       AUTHORITY IN SUPPORT OF
                    Plaintiffs,                          PLAINTIFFS’ OPPOSITION TO
15                                                       DEFENDANT CBR’S MOTION TO
            vs.                                          COMPEL ARBITRATION OR IN THE
16                                                       ALTERNATIVE TO DISMISS, AND
     CBR SYSTEMS, INC., GI PARTNERS, and                 PLAINTIFFS’ OPPOSITION TO
17   DOES 1-10,                                          DEFENDANT GI PARTNERS’
                                                         OPPOSITION TO NOTICE OF JOINDER
18                  Defendants.                          AND MOTION TO COMPEL
                                                         ARBITRATION OR, IN THE
19                                                       ALTERNATIVE, TO DISMISS

20                                                       Hon. Haywood S. Gilliam, Jr.

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        Plaintiffs, Amy Cohen, Katharine Vaccarella and Sirisha Koneru (“Plaintiffs”) respectfully submit
 1

 2   this Notice of Supplemental Authority in support of their Opposition to Defendant CBR’s Motion to

 3   Compel Arbitration or in the Alternative to Dismiss (ECF No. 59), and their Opposition to Defendant

 4   GI Partners’ Opposition to Notice of Joinder and Motion to Compel Arbitration or, in the Alternative,
 5
     to Dismiss (ECF No. 60) (collectively “opposition briefs”) to apprise the Court of a recent decision in
 6
     TERESA MACCLELLAND, et al. v. CELLCO PARTNERSHIP, et al., No. 21-cv-08592-EMC, 2022
 7
     WL 2390997 (N.D. Cal. July 1, 2022), issued after Plaintiffs submitted their opposition briefs,
 8
     addressing unconscionability of an arbitration agreement (see attached Exhibit A).
 9

10   DATED: July 12, 2022                                  Respectfully submitted,

11                                                         /s/ Rachel Soffin
                                                           Rachel Soffin*
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                                                           Blake Yagman*
13                                                         Erin Ruben*
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           Case 4:21-cv-06527-HSG Document 71 Filed 07/12/22 Page 3 of 3



                                        CERTIFICATE OF SERVICE
 1
            The undersigned certifies that today the foregoing was filed on ECF which will send
 2

 3   electronic notification to all attorneys registered for ECF-filing.

 4

 5   DATED: July 12, 2022                                    /s/ Rachel Soffin
                                                             Rachel Soffin*
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